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                                 EXHIBIT A




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    Jeff Anderson:       All right, my name is Jeff Anderson. I am the founder of the law
                         firm Jeff Anderson & Associates. I am here today with Deborah
                         Mallgrave and Josh Robbins of the Greenberg Gross Firm. We
                         stand here today privileged and honored to stand with the very
                         courageous [inaudible] [00:00:43] who has found her voice and
                         encouraged to speak. Also, the courage to file federal action, a
                         lawsuit, just late yesterday in the central district of California.

                         It is titled                    vs. La Luz del Mundo as an
                         organization, and all the leaders on it who either knew of and/or
                         have participated in a very grave criminal enterprise, RICO, sexual
                         assault and the coverup of it, human trafficking, among other
                         things.

                         In a few moments, you will hear from Sochil. Before you do, I

                         Robbins, who is a former federal prosecutor who has had
                         experience in investigating and looking at serious criminal
                         enterprises such as this, we believe to be. With that in mind, Deb
                         Mallgrave, please step forward. Well, this is Sochil here. Share
                         with us more about today.

    Deborah Mallgrave: Good morning.
                       ever heard. The day she walked into our offices and told me about
                       her
                       imagine that such a large, corrupt, and criminal organization could
                       exist right under my own nose, undetected. With a global
                       membership reaching into the millions. As I got to know Sochil
                       and spoke to more LDM survivors, a tangled web of human
                       trafficking, sexual abuse, and forced labor began to emerge.

                         We stand here today, and we are moving forward in court, to speak
                         for literally thousands of victims of Naason Joaquin Garcia and his
                         conspirat
                         every relationship was defined and controlled by a circle of
                         pernicious, profiteering men who took her body, her labor, and her
                         childhood for their own benefit and sexual enjoyment.

                         Sochil was trained as a sexual servant at the tender age of nine. She
                         began to work over 40 hours a week for LDM when she was just
                         14. Every extra penny that she earned for over 30 years went to the
                         pockets of the men who built their lavish lifestyle off the backs of
                         their members. Even today, Sochil is stopped, threatened, and
                         harassed by the institution that lied to her every day of her life. Not




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                     abuse, coercion, and lies. What begs belief is that there are literally
                     thousands like her.

                     The lawsuit filed yesterday is the first step in dismantling a
                     complex, corrupt, and powerful institution built on human
                     trafficking and sexual abuse. Some problems are so pervasive, so
                     daunting that only by appealing to fundamental concepts of justice
                     and righteousness can we begin to heal. [Inaudible] [00:06:00]
                     individuals fight against the Goliath behind human rights
                     violations, modern-day slavery, and criminal enterprises requires
                     aggressive, audacious legal undertakings.

                     LDM is precisely the kind of organization, and their abuse of
                     Sochil is precisely the kind of injury behind sweeping laws like the
                     Trafficking Victim Protections Through Reauthorization Act,
                     RICO, and the new national wave of sexual assault legislation.
                     Behind every fight against Goliath, there is the David. It is an
                     honor and a privilege to represent a true lawyer of justice, Sochil
                     Martin. No one can tell her story like she can. It is with great honor
                     I present to you my client, Sochil Martin.

    Sochi Martin:    Hello, my name is Sochil Martin. I am 33 years old. I grew up here
                     in Los Angeles. In 1986, I was born in the inner circle of La Luz
                     del Mundo and raised to be the property of the apostle, Samuel
                     Joaquin, and his son after, Naason Joaquin Garcia. For the first 33
                     years of my life, I was taught to believe that my body, my mind,
                     my soul belonged to La Luz del Mundo because it was the Will of
                     God. At the age of nine, I was taught that my own family, and
                     community, and my eternal soul depended on me sexually pleasing
                     La Luz del Mundo apostles.

                     For nearly 22 years, I was made to work for, travel for, lie for, and
                     give my body to an organization that saw me as nothing more than
                     a source of profit and sexual pleasure. Hundreds, if not thousands,
                     of other children before me and after me suffered the same fate. I
                     come forward today because this has to stop. Generations of young
                     children raised in La Luz del Mundo have been forced to become


                     Girls that should be playing with friends and enjoying their youth
                     spend their time learning how to dance for or touch apostles. As
                     they grow up, these children are forced into more horrific sexual
                     acts, and they can never say no. Their parents, their community,




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                     and their ministers teach them that God wants this, that God wants
                     them to please their apostles. Anyone who speaks out         I am
                     someone who has done that, and I have gone through this. The
                     risks of being shamed and abused by the community that raised
                     them and myself. For far too many La Luz del Mundo members,
                     everything they have is taken by La Luz del Mundo. Every dollar
                     they make goes to La Luz del Mundo because they truly believe
                     their money will be used to do the work of God on Earth.

                     All of the hard-earned money goes to making Naason and his
                     enablers rich. Even the treasured golden family heirlooms of La
                     Luz del Mundo members are melted down to paint the house of the
                     apostles. La Luz del Mundo not only takes children and money
                     from its members but their labor, too. Many thousands of La Luz
                     del Mundo members are coerced into working tirelessly in all
                     conditions to provide La Luz del Mundo and its leaders.

                     La Luz del Mundo temples in your own town, those are built by
                     coerced, unpaid La Luz del Mundo members. The propaganda that
                     La Luz del Mundo spreads online, that was created by coerced,
                     unpaid La Luz del Mundo members. The food that the pastors eat,
                     the celebrations that La Luz del Mundo holds, and the goods that
                     La Luz del Mundo sells, all of them come from the hard work of
                     La Luz del Mundo members that have no choice but to do
                     whatever La Luz del Mundo asks of them.

                     La Luz del Mundo has taken everything from its members, and it
                     will never stop unless we make it stop. Naason Joaquin Garcia
                                                                              ntinue
                     to commit crimes every day. I know, standing here today, that
                     coming forward and bringing this case will make me a villain at
                     thousands of La Luz del Mundo services this week. Hundreds of
                     thousands of La Luz del Mundo members will gather to celebrate



                     coerce their members into giving their last pennies to help Naason
                     fight me
                     friends, and bishops will sit back comfortably in a lavish lifestyle
                     as they build off the backs of their members. Planning their next


                     Stopping La Luz del Mundo from victimizing its followers is not
                     something that I can do alone. There are countless more of you like




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                      of you will see yourself and a very good friend of mine. He
                      activist for human trafficking, and he says he does this because he
                      sees all those little children out there like it was him, when he was
                      younger. A very, very dear friend of mine. I see a lot of Sochilitas
                      out there, all of the Jane Does. Not just the ones in the California


                      I hope you see yourself in me and decide you do not have to be

                                                                                    orld what
                      has happened to you, and what happened to you is not right. What
                      happened to us is not right. It is not a blessing. It is not from God.
                      It is not right. Your stories can help us bring down this corrupt
                      organization. If we all come together and speak as one voice, there
                      is nothing La Luz del Mundo can do to silence us. Thank you very
                      much.

    Jeff Anderson:    Sochil,    please     know      that   your     hope   that    those
                      [inaudible][00:13:59] as we speak can now get help, and
                      something can be done through the effort and your courage today.
                      Other [inaudible] know that this action that you are taking today
                      and to that end is a realization of the hope [inaudible] [00:14:21].
                      Thank you.

    Male Speaker 1:   When do we speak in Spanish?

    Jeff Anderson:                         osh Robbins, former federal prosecutor, tell
                      us more about this lawsuit, these claims, and the magnitude of
                      them.

    Joshua Robbins:
                                                                          so a case about
                      organized crime. As detailed in the complaint that we filed, La Luz
                      del Mundo is a massive, global organization that for decades has
                      systematically exploited its members in ways that are not only
                      gross violations of human rights but are also federal and state


                      The complaint details one of the largest and most insidious human
                      trafficking operations ever seen in which LDM members are
                      coerced into giving out their own children to be raped and abused
                      by the leaders of the organization. It also describes the widespread
                      practice of forced, unpaid labor as well as extortion and money




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                     laundering, all of which serve to enrich the leadership of LDM.

                     As described in the complaint, these schemes have gone on for
                                                                                and
                     thousands of victims.                              very top of
                     the LDM organization, which has taken extraordinary steps to
                     silence Ms. Martin and other survivors who would dare to speak


                     It is no accident that many of the claims that we have filed in this
                     case are based on federal criminal laws. Among those is the
                     Trafficking Victims Protection Act, which Congress enacted and
                     strengthened over the years to fight exactly the sorts of schemes
                     that LDM has been engaged in.


                     Corrupt Organizations Statute, that is, RICO. That law was
                     designed to combat organized crime, and it specifically extends to
                     human trafficking organizations, which is one of its most important
                     uses today. This case calls out for law enforcement action. We
                     applaud the efforts of the authorities thus far, and we are
                     committed to cooperating with them to help bring LDM and its
                     leadership to justice.

                     This case is also very much about Sochil Martin. She is both a

                     right and, in her view, the duty to take action in her own name and
                     to fight for other survivors like her. This civil action and the laws
                     upon which it is based empower her to do just that.

                     Sochil Martin, the voice that you have shared today and the action
                     that you take in this lawsuit is [inaudible][00:18:05]. You know
                     that you did not have to use your name. You did not have to stand
                     here today. In this lawsuit, Sochil Martin, under the California
                     Child Protection Act and under the laws, could have remained
                     confidential. Sochil, you made a choice to stand here today, and
                     use your name, and file this claim. This racketeering claim, this
                     trafficking claim, this sexual assault and coverup claim, because


                     You have broken the bonds and holds upon you by this culture and
                     found that voice. What Sochil wants folks in this community to

                     country. This is a worldwide enterprise engaged as we speak in the




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                     very things detailed in the complaint filed yesterday. The details of
                                      [inaudible].

                     What I want you to know, Sochil, is we applaud your courage and
                     are grateful to you. I also want to say that I have been, and our firm
                     has a privilege to work with survivors of sexual assault, abuse,
                     institutionally and otherwise for over 38 years across this country
                     and in California. As we stand here today, and as we prepare for
                     this lawsuit, it is, to me, the greatest peril we have ever faced or I
                     have ever seen.

                     We are here today, standing with Sochil, to sound the alarm and to
                     expose the culture and the predators that are active as we speak.
                     Not just in trafficking. Not just in sexual assault. Not just in the
                     coverup of it, but in the silencing of anyone who would speak
                     against it. I have never, ever, in the 38 years I have been in this
                     work been more alarmed about the safety of children than in this
                     situation. To you, Sochil. All right.

    Sochi Martin:
                     gonna say it in Spanish for the people who have accompanied me.
                                                                     36 years old, and I
                     grew up here in Los Angeles. I was born here in Los Angeles. In
                     1986, I was born within the inner circle of La Luz del Mundo, and
                     I was raised to be the property of the apostle, Samuel Joaquin
                     Flores and his son, Naason Joaquin Garcia.

                     During the first 33 years of my life, I was taught to believe that my
                     body, my mind, my soul belonged to La Luz del Mundo because it
                     was the Will of God. At the age of nine years old, my own family
                     and community taught me that my eternal soul depended on me
                     sexually pleasing La Luz del Mundo apostles.

                     For nearly 22 years, I was made to work for, travel for, lie for, and
                     give my body to an organization that saw me as nothing more than
                     financial profit and sexual pleasure. Hundreds, if not thousands, of
                     other children before me and after me have suffered the same fate.
                     I share my story because we must stop what is happening. Several
                     generations of children raised in La Luz del Mundo have been
                     forc
                     apostles.

                     Girls that should be playing with their friends and enjoying their
                     youth spend their time learning how to dance for or touch the




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                     apostles of La Luz del Mundo. As they grow up, these children are
                     forced into more and more horrific sexual acts, and they can never
                     say no. Their parents, their community, and their ministers teach
                     them that God wants them to please the apostles.

                     Anyone who speaks out risks being shamed and abused by the
                     community that raised them. For many members, everything they
                     have is taken by La Luz del Mundo. Every dollar they make goes
                     to La Luz del Mundo because they believe that their money will be
                     used to do the work of God here on Earth.

                     All of the hard-earned money goes to making Naason and his
                     enablers richer. Even the treasured golden family heirlooms of La
                     Luz del Mundo members are melted down to paint the houses of
                     the apostles. La Luz del Mundo not only takes children and money
                     from its members but their labor, too. Thousands of La Luz del
                     Mundo members are coerced into working tirelessly under all
                     conditions to provide La Luz del Mundo and its leaders.

                     La Luz del Mundo temples in your own town, those are built by
                     coerced, unpaid La Luz del Mundo members. The propaganda that
                     La Luz del Mundo spreads on social networks, that was created by
                     coerced, unpaid La Luz del Mundo members. The food that the
                     pastors eat, the celebrations that La Luz del Mundo has, and the
                     goods that La Luz del Mundo sells come from the hard work of
                     each of the La Luz del Mundo members that have no choice but to
                     do whatever La Luz del Mundo asks of them.

                     La Luz del Mundo has taken everything from its members, and this
                            unless we make it stop. Naason Joaquin Garcia is in jail, but
                     La
                     those crimes every day. I know that standing here today, presenting
                     myself before you, bringing this case, La Luz del Mundo will
                     make me a villain at thousands of services this week. While
                     hundreds of thousands of La Luz del Mundo members will gather
                     to celebrate the birthday or the holy supper           same thing.
                     They use whatever excuse to get more money from their members.

                                                       a liar and a conspirator. Then,
                           coerce their members into giving their last pennies to help
                     Naason fight against me and people like me. While they do that,

                     a lavish lifestyle that they created with the work off of our backs.
                     Planning for the next generation of abuse and theft. It is time to




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                     Stopping La Luz del Mundo from victimizing its followers is not
                     something that I can do alone. I know that there are countless
                     people like you and me, and I need your
                     standing here today, some of you will see yourself in me. I want
                     you all to know that you no longer have to remain silent. You can
                     speak up and put a stop to it.
                     and that you will tell the world that what happened to you is not
                     right. It is not from God. It is not a blessing.

                     They abused you, they abused me, and they continue to do it. Your
                     stories can help us bring down this corrupt organization. If we all
                     come together and speak as one voice, there is nothing that La Luz
                     del Mundo can do to silence us.
                     children, our children. Thank you very much.

    Jeff Anderson:   We can take a few questions.
                     Sochil, there is a body of evidence that has been set forth in this



                     law enforcement. This enterprise is claiming to have five million
                     members across the globe in 58 nations, 15,000 properties.
                     time for law enforcement to know.

                     While the current apostle, Naason, is in jail right now, this is a
                     global enterprise that needs to be stop
                     enforcement, federal and state, wherever they are. You can share
                     your story out with them privately, and you can also, under the
                     California Child Protection, bring action that can punish these
                     wrongdoers in a civil action such as this and preserve your privacy.

                     just summarize in Spanish? Please.

    Evangela:        Good morning.
                     share her story. Sochil, thank you very much. Because we know
                                                                                have the
                     opportunity to present their story. Through that new law, Law AB
                     218, you can bring a lawsuit when abuse occurs. You have a three-
                     year window. But this story, as we just heard
                     sexual abuse. This is a case of the violation of the human rights of
                     these children who have been under this institution.




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                       Therefore, we ask all of you who know this institution. You know
                       people who work there, people who have gone to that church. If



                       people. There are very ferocious, horrific sexual cases of children


                       institution.

                       Thanks to Sochil, who has shared her story. We hope that you all
                       who are here, by means of communication, reach out to a lot of
                       children so that they come and share their stories. They must
                       understand that they can remain silent, and they will be protected.
                       Thank you very much.

   Male Speaker 1:     Your name?

   Female Speaker 1:   Beatriz [inaudible] [00:32:20].

   Male Speaker 2:


   Female Speaker 2:   Can you describe your cooperation with law enforcement? Who
                       have you met with? When did you meet? Are you concerned that
                       your principal theme ?

   Male Speaker 2:
                       she been cooperating with them. The answer is she has been
                       cooperating. There is an active investigation underway. To that, we
                       have nothing more to say other than they are doing their job.

   Female Speaker 2:   Can you say which agency?

   Male Speaker 2:                                                .

   Female Speaker 3:   Sochil, can you   ?

   Male Speaker 2:     Question over here.

   Male Speaker 1:     How did you get to La Luz del Mundo church, Sochil?

   Sochi Martin:                                 .
                       side, their parents belong to the church, and I was born in the




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                                                                          n La Luz
                                                         my great grandparents, my
                       grandfather, my grandmother, my mother. My mother, at a very
                       young age, left the church. My aunt raised me and my four


   Male Speaker 3:     In English, Sochil, please?

   Sochi Martin:       In English, yes.

   Male Speaker 3:     In English, please?

   Sochi Martin:       He asked how did I come about The Light of the World, and I
                                                  the
                       parents, they were born in the church. My grandfather was one of
                       the first members of the United States for La Luz del Mundo. I was
                       raised in the church. My biological mother, she was very young.
                       Me and my brother, we lost her to drugs. I have my brother here
                       with me. My aunt raised us, and she raised all four of us in the
                       church. As a slave, we personally Samuel and Naason as she was
                       to Samuel when she was 15.

   Female Speaker 3:   Can you talk about    ?

   Jeff Anderson:               story is one replicated by hundreds of kids and families


   Female Speaker 3:   Can you talk about when you left LDM and how you decided to
                       come forward?

   Jeff Anderson:      The question is what caused you to leave LDM and what caused
                       you to come forward?

   Sochi Martin:       For the last year before, when I was with Naason, it was a
                       nightmare. Through my entire life, it was a bad dream. I was just
                       living it over and over. Towards the last few, I just saw and lived
                                                                                     I fell
                       into a depression so many times because of the things that I saw
                       him do. Me and the other girls as well, and young men.


                                                                                          .

                       say that I still wanted to go back to church. Just the brainwashing




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                                                                         you know what? It

                       apostle of God. When his bishops came and tried to buy us out, we


   Female Speaker 3:   When did you leave? Can you provide us with a date?

   Male Speaker 1:     Can you say it in Spanish?

   Female Speaker 3:   Can you just answer that part of the question?

   Jeff Anderson:      Briefly in Spanish, do you wanna give a brief presentation of what
                       caused you, in Spanish, to realize what had been done to you was
                       wrong and to leave this organization?

   Sochi Martin:       Okay. Yeah, just really quick

   Female Speaker 3:   Thank you.

   Sochi Martin:       When was the exact date that we left, love?

   Male Speaker 4:                     . October 13, 2016.

   Female Speaker 3:   Thank you.

   Sochi Martin:       Oh, the 13th of October of 2016 is the exact day that my husband
                       and I chose to leave.

   Female Speaker 3:   Thank you.

   Sochi Martin:       Sorry?

   Male Speaker 1:     If you could repeat for me, please.

   Sochi Martin:       Oh, in Spanish, yes.

   Male Speaker 1:     How you managed to leave the church.

   Sochi Martin:       My whole life, since I was a girl, there were a lot of things, a lot of
                       questions that I had in order to move ahead.
                                                                  , with your friends, your

                       last year, when I returned to Naason, that whole year was the worst




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                       year of my life. Because I saw things and lived through things that
                       were very hard. Things t
                       because they bring me back to very difficult moments.

                       I went into a lot of depression. They were such horrible things that

                                                            [Inaudible][00:38:17]
                                and I would be quiet
                       found texts that were sent to me and to all of the secretaries. We
                       received the same texts, pornographic texts and everything. It
                       scared my husband, and


                       So many moves that Naason and his bishops made me and my
                       family do. Finally, I still wanted to go to church. I wanted to
                       believe that he was an apostle. His bishops started to treat it as if it



   Deborah Mallgrave: Real quick, I just wanna clarify that Sochil and her husband may
                      have stopped

   Jeff Anderson:      If you could move closer to the mic, please.

   Deborah Mallgrave: Sorry. I just wanted to clarify that Sochil and her husband may

                       sure there is any actual leaving La Luz del Mundo. She has
                       continued to be harassed, coerced, and threatened to this day.

   Sochi Martin:       I actually have my brother here, and I have
                       here who have suffered the same harassment on social media,
                                                                               ey




                       The other girls have left, just far away. They want nothing to do



                       before you today, holding the hand of my family members, my




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                     gonna let the world know that this institution needs to stop.
                     Because having sex with children is the most disgusting act that

                     around him.

   Male Speaker 1:   Can you say that last part in Spanish, please?

   Sochi Martin:     Yes.

   Jeff Anderson:    A last, final comment. This powerful lawsuit brought by this
                     powerful woman is designed to not just to stop him, the man
                     known
                     in leadership and in participating in this ongoing criminal
                     enterprise that involves the exploitation of vulnerable adults and
                     children as we speak. As we speak. Thank you, Sochil.

   Male Speaker 1:   Could she relay the last message in Spanish, the last part, how


   Sochi Martin:     Yeah. I

   Male Speaker 1:   You said that he was dangerous.

   Sochi Martin:     Yes. I was just saying that


                     only problem. The problem is the institution. His bishops, pastors,
                     his friends who are with him are dangerous. We have to put a stop
                     to it.

                     Because in the same way that I have my friends who are here, I

                                                              mething to your parents, to


                     here now with you all. Thank you very much.

   Jeff Anderson:    Thank you, Sochil, to all the survivors, yourself in particular today.
                     All those witnesses and survivors that are coming forward, willing
                     to expose this culture and stop this criminal enterprise. Thank you,
                                                     [Crosstalk]

   Male Speaker 4:             . [Crosstalk]




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   [End of Audio]

   Duration: 44 minutes




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